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                                                                             i~cD
 1    Christopher VonSchlobohm
2     434 North Bedford Drive
      Los Angeles, CA 90210                                                     ~~~ ~i~ ~~
3                                                                ~~$~~ ~,~t~ ~3
4     Tel.: +1(310)205-0670                                                          ';~~; .
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 5    Email: drsusan90210@gmail.com                                _ —   5
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]3                                    UNITED STATES DISTRICT COURT
]4                                    CENTRAL DISTRICT OF CALIFORNIA
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t~ CHRISTOPHER VONSCHLOBOHM,
~g
                                                          CV19-7 5~~~v~ ~~
19 Plaintiff,                                            CASE NO.:
20
21    v.
22                                                       DECLARATION IN SUPPORT OF
23                                                       COMPLAINT
24
25    COUNTY OF LOS ANGELES,et al.
26
27    Defendants.
28
29
30
31   I, Christopher VonSchlobohm, declare under the penalty of perjury under the laws of the

32 United States of America as follows:

33         1. My name is Christopher VonSchlobohm, I am over the age of eighteen, am of

34         sound mind, and am capable of making this declaration. The facts stated herein of

35         my personal knowledge and are true and correct,
     Case 2:19-cv-07358-DOC-JC Document 3 Filed 08/23/19 Page 2 of 2 Page ID #:31




36   2. I declare under the penalty of perjury that the foregoing Complaint is true and

3~      correct on this 22nd Day of August 2019.

3s   Dated: August 22, 2019
39   Los Angeles California
40

4~   For Plaintiff

42


43   Christopher VonSchlobohm




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